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AO 470 (Rev. 01/09) Order Scheduling a Detention Hearing



                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                       EASTERN District of TEXAS

                  United States of America                         )
                             v.                                    )      Case No.                  4:19-CR-264
                                                                   )
WILLIAM GRANT ALLBROOK (5)                                         )
                            Defendant                              )

                                        ORDER SCHEDULING A DETENTION HEARING


A detention hearing in this case is scheduled as follows:


          United States Courthouse Annex
Place: 200. N. Travis                                                     Courtroom No.:
          Sherman, Texas 75090
                                                                                              Wednesday, Nov. 6, 2019
          before Judge Christine A. Nowak                                 Date and Time:
                                                                                              at 10:30 am

        IT IS ORDERED: Pending the hearing, the defendant is to be detained in the custody of the United States
marshal or any other authorized officer. The custodian must bring the defendant to the hearing at the time, date, and
place set forth above.




Date:         Oct. 31, 2019
                                                                                             Judge’s signature

                                                                                  KIMBERLY C. PRIEST JOHNSON
                                                                                    United States Magistrate Judge
                                                                                           Printed name and title
